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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                         *           CRIMINAL NO. 24-105

                 v.                                *           SECTION: “D”(1)

 SEAN D. ALFORTISH                                 *
 LEON M. PARKER
     a/k/a “Chunky”                                *

                                                   *

                                           *       *       *

                    GOVERNMENT’S FILING CONCERNING
      SEAN D. ALFORTISH’S AND LEON M. PARKER’S PRE-TRIAL DETENTION

        The United States of America, through the undersigned Assistant United States Attorneys

 and Department of Justice Trial Attorney, hereby submits this filing in advance of Sean D.

 Alfortish’s and Leon M. Parker’s detention hearings. As explained below, this Court cannot rely

 on Alfortish and Parker to comply with the conditions of any bond, and both defendants pose a

 serious risk of flight and serious risk to obstruct justice. Because there are no bond conditions

 that will reasonably assure the defendants’ appearances and the safety of others in the

 community, Alfortish and Parker should be detained.

                                   FACTUAL BACKGROUND

                                               Alfortish

       In December 2024, a federal grand jury in the Eastern District of Louisiana charged

Alfortish, Parker, and eight codefendants in a ten-count superseding indictment with various

offenses related to the federal investigation into staged automobile collisions, also known as

“Operation Sideswipe.” Rec. Doc. 78. As stated in the superseding indictment, the staged collision

scheme involved individuals who rode in automobiles as passengers knowing they would be part of



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staged collisions; individuals who drove automobiles and intentionally collided with 18-wheeler

tractor-trailers and other commercial vehicles in order to stage collisions, also known as

“slammers”; individuals who drove automobiles to search for 18-wheeler tractor-trailers and other

commercial vehicles to be part of staged collisions, also known as “spotters”; and law firms,

attorneys, and others associated with the law firms and attorneys who pursued fraudulent lawsuits

knowing they were based on staged collisions. Rec. Doc. 78, p. 4. One slammer, Cornelius

Garrison, covertly cooperated with the federal investigation beginning in or around October 2019

and ending when Garrison was murdered in his mother’s New Orleans home in September 2020.

See Rec. Doc. 78, pp. 6, 21.

        Garrison’s cooperation was extensive. Over the course of multiple meetings with agents and

prosecutors, Garrison implicated, among others, fellow slammer Ryan Harris; personal injury

attorneys Vanessa Motta and Jason Giles; other attorneys practicing in the New Orleans area; and

Alfortish, a disbarred attorney who has been in a romantic relationship with Motta. See Rec. Doc.

78, p. 5. For example, during a November 2019 meeting with agents, Garrison (described as “CHS”

because he was a confidential source at that time) described how he and another slammer

(anonymized in the superseding indictment as “Slammer H”) staged collisions for Giles and The

King Firm. See November 19, 2019 FD-1023 Report, attached hereto as Government’s Exhibit A.1

According to Garrison, Giles “wanted [Garrison] to bring [The King Firm] 25 cases per month.”

Gov. Ex. A, p. 1. Garrison and Slammer H staged so many collisions for The King Firm that they

“had to take breaks . . . because The King Firm had to replenish the funds for staging accidents.”

Gov. Ex. A, p. 1. Garrison “believed every tractor-trailer accident at The King Firm was a staged



        1
        The government has attached redacted versions of this and other reports to this public filing.
Unredacted versions have been provided to defense counsel and the Court.

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accident” from Garrison and Slammer H. Gov. Ex. A, p. 1.2

       Eventually, Garrison concluded that he “did not want to deal with middlemen anymore after

working with” Slammer H and The King Firm. Gov. Ex. A, p. 2. Around that time, Garrison was

introduced to Alfortish, who paid Garrison for staged collisions and “gave” cases based on those

collisions to attorneys, including Motta. Gov. Ex. A, p. 2. Alfortish could not handle cases based on

Garrison’s collisions himself because he had been disbarred following his 2011 federal conviction

related to election rigging and embezzlement. See David Hammer, Former horseman’s association

director pleads guilty to conspiracy, The Times-Picayune, Sept. 1, 2011.3 Alfortish had pleaded

guilty in that case only a week before his trial was scheduled to begin. See id. Before his sentencing,

Alfortish circulated a letter stating that he “was ‘not guilty of the many things which were said

about me’” and that “he took a plea deal with the government because it was in the best interest of

his daughter.” See Gordon Russell, Former horsemen’s association director sentenced to almost

four years in prison, The Times-Picayune, Feb. 3, 2012.4 Only after being pressed by Judge Fallon

and offered to withdraw his guilty plea did Alfortish confirm that he was guilty. See id. According

to United States Probation, Alfortish’s supervised release ended on December 5, 2016, around the

time he began working with Garrison.

       During a December 13, 2019, meeting with agents and prosecutors, Garrison elaborated on

Alfortish’s role in the staged collision scheme. See December 13, 2019, FD-1023 Report, attached

hereto as Government’s Exhibit B. For example, Alfortish told Garrison that “staging an accident


       2
         Slammers Damian Labeaud and Roderick Hickman also staged collisions and brought them to
Giles and The King Firm in exchange for payment.
       3
         Available at https://www.nola.com/news/crime_police/former-horsemans-association-director-
pleads-guilty-to-conspiracy/article_f951d89c-aa6a-5732-947e-921be2a009ef.html.
       4
         Available at https://www.nola.com/news/crime_police/former-horsemens-association-director-
sentenced-to-almost-four-years-in-prison/article_0593a885-2c94-5f37-a45f-d93ebfdcee64.html.

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with four passengers raised red flags,” and Alfortish “preferred local police to respond to an

accident rather than state police.” Gov. Ex. B, p. 2. Additionally, Alfortish “found most of the

staged accident participants” and would tell Garrison “to meet the participants under the Claiborne

bridge.” Gov. Ex. B, p. 2. According to Garrison, Alfortish “used coded language to discuss the

staged accident participants, saying he had a certain number of ‘horses’ for [Garrison] and would

provide [Garrison] with the phone number for one of them.” Gov. Ex. B, p. 2. Further, Garrison

stated that he knew Harris, and that he had provided Harris with Alfortish’s phone number. Gov.

Ex. B, p. 3.

        Garrison also implicated Motta as a knowing participant in the staged collision scheme,

stating on December 20, 2019, that Motta “did know accidents were staged from the start,” see

December 20, 2019 FD-1023 Report, attached hereto as Government’s Exhibit C, p. 2; and, on

January 24, 2020, that he “believed Motta knew accidents were staged because there were so

many.” See January 24, 2020, FBI 302, attached hereto as Government’s Exhibit D, p. 2.5 That

same month, Garrison stated that Motta “was impressed with what [Garrison] was able to do in the

staged accidents and said she could hook [Garrison] up with people in Los Angeles to do stunt

driving.” See January 9, 2020, FD-1023 Report, attached hereto as Government’s Exhibit F, p. 2.

        As the Sideswipe investigation continued, Alfortish and Motta sought to make Garrison an

unavailable witness. For example, Alfortish “offered to compensate [Garrison] if [Garrison] took

the fall for the staged accidents. Alfortish offered $500,000 with $100,000 up front.” Id. at p. 1.

Additionally, Alfortish “offered to move [Garrison] to the Bahamas because of the heat from the

investigation into the staged accidents.” Id. In January 2020, after Garrison received a subpoena for

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          When he first began meeting with the government in October 2019, Garrison stated that Motta
“did not know the accidents were staged.” See October 30, 2019 FBI 302, attached hereto as Government’s
Exhibit E, p. 2. However, as described above, after his initial meeting, Garrison began implicating Motta in the
staged collision scheme.

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a deposition in one of Motta’s cases, Alfortish and Motta arranged for Garrison to be represented by

a different attorney as part of a scheme to prevent Garrison from being deposed. While riding in an

elevator to the attorney’s office, Motta explained to Garrison that he would get along with the

attorney because the attorney knew about the “construction”—a reference to the cover story

Alfortish had instructed Garrison to use if anyone asked him why he had received so much money

from Alfortish and Motta. See September 2, 2020 FBI 302, attached hereto as Government’s

Exhibit G, p. 2 (“Alfortish told Garrison if anything ever happened, Garrison would say the

payments from Alfortish were for construction work. Alfortish mentioned this statement to Garrison

on multiple occasions.”).6 Motta’s unprompted reference to the “construction” cover story is strong

evidence of her and Alfortish’s complicity in the staged collision scheme.

       Following the meeting at the attorney’s office, Alfortish and Motta learned that Garrison

was represented by a criminal defense attorney, Chief Federal Public Defender Claude Kelly. See

February 3, 2020, FD-1023 Report, attached hereto as Government’s Exhibit H (stating that

Alfortish called Garrison and told him that he “read the letter of representation from [Garrison’s]

attorney and asked if [Garrison] was represented by [Garrison’s] attorney”). Upon learning that

Alfortish knew about his criminal defense attorney, Garrison told agents that he felt he had been

“placed in a position where other[s] will learn of [Garrison’s] cooperation” and that he was “not

sure who to trust.” See February 3, 2020, FD-1023 Report, attached hereto as Government’s Exhibit

I. Garrison also believed Alfortish “was telling people [Garrison] was cooperating.” See February 4,

2020, FD-1023 Report, attached hereto as Government’s Exhibit J. Despite their knowledge that

Garrison was represented by a criminal defense attorney, Alfortish and Motta continued to contact

Garrison directly, and Motta met with the criminal defense attorney. See February 10, 2020, FD-

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          Motta’s statement to Garrison about “the construction” was video recorded. The government
intends to play excerpts of this and other recordings at Alfortish’s detention hearing.

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1023 Report, attached hereto as Government’s Exhibit K. Motta also coached Garrison about how

to behave during the deposition, telling him “not to worry,” see February 16, 2020, FD-1023

Report, attached hereto as Government’s Exhibit L; and “to think about what he said before he said

it.” See February 18, 2020, FD-1023 Report, attached hereto as Government’s Exhibit M. Motta

reassured Garrison that after the deposition the insurance defense lawyers would “stop harassing”

him. Gov. Ex. M. Garrison believed that Alfortish “was up to something regarding the deposition.”

Gov. Ex. L.

       At the deposition, Garrison was accompanied by his criminal defense attorney, and he

invoked the Fifth Amendment in response to questions. Garrison recounted that Motta “would not

look at [him] during the deposition.” See February 21, 2020, FD-1023 Report, attached hereto as

Government’s Exhibit N. After the deposition, Motta again attempted to meet with Garrison’s

criminal defense attorney, and Alfortish called Garrison to tell him that “things did not go well.”

Gov. Ex. N.

       In September 2020, a federal grand jury in the Eastern District of Louisiana charged

Garrison and eight codefendants in a seven-count indictment related to staged collisions. See United

States v. Garrison, E.D. La. No. 20-92, Doc. 1. The indictment made references to “Co-Conspirator

A” (Alfortish) and “Attorney B” (Motta), stating that “Co-Conspirator A solicited and/or referred

personal injury clients to Attorney B.” Id. at p. 2. Certain information in the indictment clearly came

from Garrison, including that “Co-Conspirator A instructed Garrison on the number of passengers

to include in staged collisions” and “Co-Conspirator A instructed Garrison to lie about payments he

received from Co-Conspirator A if ever asked.” See id. at p. 7.

       Four days after the indictment, Garrison was murdered at his mother’s New Orleans home.

Harris’s romantic partner, Jovanna Gardner, has pleaded guilty to her conduct the night Garrison


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was murdered. See Rec. Doc. 49. According to Gardner’s factual basis, Harris told her that Garrison

was cooperating with the federal criminal investigation into the staged collision scheme. Rec. Doc.

49, p. 2. Harris said that “the lawyers” wanted Harris to pay Garrison so Garrison would not

cooperate with federal investigators. Rec. Doc. 49, p. 2. Gardner understood “the lawyers” to mean

Motta and Alfortish (referred to in the factual basis as “Attorney A” and “Co-Conspirator B”).

Harris instructed Gardner to use a false name when text messaging Garrison as part of a scheme to

ensure that Garrison would be in his mother’s house at a particular time. See Rec. Doc. 49, p. 2.

Harris told Gardner it was necessary to use the false name because Garrison may not have agreed to

meet otherwise. Rec. Doc. 49, p. 2. Later that night, a “burner” phone that had been purchased by

Harris was in the vicinity of Garrison’s mother’s home at the time of the murder.




                                               Parker

       As referenced in the superseding indictment, Parker was an associate of Harris’s family—

specifically, Parker had a romantic relationship with Harris’s mother, and he considered himself a

stepfather to Harris and Harris’s brother. See Rec. Doc. 78, p. 2. In January 2016—before Garrison

moved from Giles and The King Firm to Alfortish and Motta—Parker had phone calls with


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Garrison (whose last four digits of his phone number were 2011). The following are Parker’s tolls

showing contact with Garrison’s phone:




Harris’s mother likewise had a call with Garrison:




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       The same day as the calls, Parker, Harris’s mother, and Harris’s brother were in a collision

with an 18-wheeler tractor-trailer that was staged by Garrison. Parker was represented in the

fraudulent lawsuit based on the staged collision by Giles and The King Firm. See Letter from Jason

Giles, attached hereto as Government’s Exhibit P.

       In January 2017, Parker was in a second staged collision, this time involving Harris’s

romantic partner Gardner.



       In December 2021, Parker was in a third staged collision. During the fraudulent lawsuit that

resulted from the staged collision, Parker was represented by Motta, as can be seen in the signature

block for this petition for damages:




       In November 2024, Parker was in a fourth collision. Considering Parker’s history of


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involvement in staged collisions, as well as other details, such as the fact that Parker was driving a

salvaged vehicle, the government suspects that this collision was also staged.

       Parker’s criminal history includes charges for first degree murder and burglary that were

refused in October 2010. Additionally, two weeks ago on November 26, 2024, Parker was arrested

by the Jefferson Parish Sheriff’s Office on charges related to possession with intent to distribute

marijuana. Prior to the arrest, law enforcement observed Parker leaving his home to sell marijuana

and using his electronic devices to arrange sales, including at least one electronic payment with the

memo “weed.” When JPSO arrested Parker in his car, they found 43 bags of suspected marijuana,

weighing approximately a half-kilogram, and two cell phones. According to the 24th Judicial

District Attorney’s Office, these charges are being accepted.

       Moreover, evidence points to Parker playing a role in Garrison’s murder. On September 6,

2020—just over two weeks before the homicide—Parker’s Google data shows that he searched for:

“Corlinus Garrett,” “CORNELIUS GARRETT,” and “Cornelius Garrett.” These searches suggest

that Parker attempted to find public information about Cornelius Garrison.

       Six days before the murder, on September 16th, Harris text messaged Parker a photograph

of a 9-millimeter semi-automatic firearm that Harris unsuccessfully attempted to purchase:




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Parker responded, “Man that thing nice almost look like mines, how much”. Six days later, Garrison

was killed by a 9-millimeter firearm.

          On September 21, 2020, the day before Garrison’s murder, Parker withdrew nearly all his

money from his bank account (approximately $47,000), suggesting that he wanted cash in case he

needed to flee after the murder. That same day, Parker met with Harris twice in a parking lot near I-

10. Between these meetings, Harris traveled to Family Dollar and purchased one of the “burner”

phones used during the murder, which Harris delivered to Gardner. After he delivered the phone,

Harris text messaged Parker, “be there around 730,” to which Parker replied, “Same spot,” and

Harris responded, “Yeah.” Harris and Parker then met at the same location they did earlier in the

day, at which time Gardner started contacting Garrison via the burner phone at Harris’s direction. In

sum, when Harris directed Gardner to start contacting Garrison posing as “Kim,” Parker was with

Harris.

          The day of the murder, Parker’s phone traveled from his home in Hollygrove and returned

to the vicinity of his meetings with Harris the day before at approximately 7:40 p.m. After the

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meeting, cell site location data on Parker’s phone shows the phone traveling back to Hollygrove.

When it returned to Hollygrove, the phone was then part of a 71-minute call that coincided with the

time of Garrison’s murder. The government suspects that Parker arranged for the phone to be

brought back to his home and to engage in the 71-minute call to fabricate an alibi for himself at the

time of the murder. This suspicion is corroborated by the fact that, after the murder, Harris’s phone

traveled to Hollygrove, suggesting that Harris was dropping Parker off at home.




       After Harris departed Hollygrove the night of the murder, Parker left his home at 11:20 p.m.

and traveled to a park located behind a Home Depot and Walmart on Veterans Boulevard in

Kenner. Parker remained in the area for approximately ten minutes and then departed, suggesting

that Parker met someone else. Alfortish, a Kenner resident, often had meetings at locations along

Veterans Boulevard with Garrison.

       Seven days after Garrison’s murder, Parker made several Google searches for information

related specifically to Alfortish. For example, Parker searched for a May 2019 article describing a

lawsuit where the plaintiffs were accused of staging the collision, and where the defense attorneys

alleged that Alfortish’s medical financing company was linked to other staged collisions. See

Government’s Exhibit R. Four minutes later, Parker searched for a February 2012 article about

Alfortish’s prior federal sentencing. See Government’s Exhibit S. Then, four minutes after that,

Parker searched for a November 2019 WWL-TV article about how Alfortish and Motta “fit into 18-

wheeler accidents fraud in New Orleans.” See Government’s Exhibit T. About eleven minutes later,


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Parker searched for a January 2018 article on Nola.com about Alfortish’s lawsuit to own

thoroughbreds after his release from prison. See Government’s Exhibit U.

                                      LAW AND ARGUMENT

        Under 18 U.S.C. § 3142(f), if the Court determines that a defendant poses a serious risk of

flight, serious risk of obstruction of justice, or risk to the safety of others in the community, the

defendant should be detained. Under § 3142(g), factors for the Court to consider include the nature

and circumstances of the offense charged, the weight of the evidence, the history and characteristics

of the defendant, and the nature and seriousness of danger to any person or the community that

would be posed by the defendant’s release.

        As described above, Alfortish and Parker have been charged with playing substantial roles

in the staged collision scheme—more than the passengers who merely rode in vehicles knowing

they would be involved in collisions. The evidence against Alfortish and Parker is overwhelming,

including Garrison’s statements that the government will seek to admit under the forfeiture by

wrongdoing exception, as well as financial documents, phone records, and testimony from

cooperators. If convicted, both Alfortish and Parker face substantial sentences because of their

criminal histories and the seriousness of their conduct. The strength of the evidence and possibility

of lengthy prison sentences could very well motivate Alfortish and Parker to threaten the safety of

others in the community or otherwise obstruct the proceedings, as they did previously with

Garrison.

        The § 3142(g) factors aside, this Court cannot rely on Alfortish and Parker to comply with

the conditions of any bond. Alfortish was engaged in a months-long scheme to silence Garrison

through offers for pay-offs, offering to move Garrison to the Bahamas, and obstructive conduct

related to Garrison’s subpoena and deposition, culminating in Garrison’s murder. There is no reason


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for this Court to believe that Alfortish will sit on the sidelines while these proceedings play out

instead of meddling, as he and Motta did throughout the time they knew they were being

investigated. Alfortish and Motta’s meddling continued even after they learned that Garrison was

represented by a criminal defense attorney. Based on Alfortish’s history of obstructive conduct and

witness tampering, this Court cannot assume that Alfortish will exercise the self-control necessary

to justify pre-trial release, and it cannot assume that the community will be any safer now that

Alfortish has been indicted than it was when he was referenced in Garrison’s indictment in

September 2020.

       As to Parker, he has demonstrated a years-long inability to follow rules. As described above,

Parker participated in at least three staged collisions and possibly was involved in a fourth staged

collision as recently as last month. He also has been selling marijuana that he keeps in his house,

raising the question of where Parker could reasonably stay if he is released. Moreover, evidence

suggests that, at a minimum, Parker assisted Harris with planning and carrying out Garrison’s

murder. For the safety of the community, to ensure their appearances, and to prevent further

obstruction of the proceedings, Alfortish and Parker should be detained.




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                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that this Court order

Alfortish and Parker detained.


                                                Respectfully submitted,
                                                MICHAEL M. SIMPSON
                                                Attorney for the United States
                                                Acting Under the Authority Conferred
                                                by 28 U.S.C. § 515


                                                /s/ Matthew R. Payne
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 11, 2024, I electronically filed the foregoing with the
 Clerk of Court by using the CM/ECF system, which will send a notice to all counsel of record.


                                                /s/ Matthew R. Payne
                                                MATTHEW R. PAYNE
                                                Assistant United States Attorney


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